Case 1:05-ci-01849-JCH Document562 “Filed 07/10/06 Page 1 of 2

UNITED STATES DISTRICT COURT FILE oe
FOR THE DISTRICT OF NEW MEXICOjserey sitzes iSSHECI CORI

UNITED STATES OF AMERICA, 06 JUL 10 PH I: 3
+ Pliny ERK BUOUEROUE
v. Oe : Cause No. 05 CR 1849 JH

ADRIAN SANFORD,
_ Defendant.

MOTION TO AUTHORIZE QUT OF STATE TRAVEL

COMES NOW the Defendant, Adrian Sanford, by'and through his counsel of record,
Robert R.- Cooper, and respectfully requests that this Court enter an Order authorizing Mr.
Sanford to travel out ‘of state and as grounds, Counsel for Defendant states:
Lo Mr. Sanford is charged as a co-defendant ina four count Indictment filed with this
Court on August 23; 2005 and as a co-defendant in a four count Supcerseding Indictment filed on
April 25, 2006: oo
2.. 0° Mr. Sanford is scheduled to travel by airplane on Monday, July 17, 2006 from his
-home in Tucson, Atizona to San Diego, California for the purpose of a family vacation at Sea
World. Mr. Sanford is scheduled to return to his homé in Tucson, Arizona on Sunday, July 23,
2006. _ .
3. -Mr. Sanford has maintained contact with’ the undersigned attorney. Mr. Sanford
is not a flight risk. - so . -
“4, The undersigned counsel has contacted Assistant United States Attomey James
Braun regarding this Motion. Mr.-Braun has indicated that the Government does not oppose this.

Motion:

flo
Case 1:05-cr-01849-JCH Document562_ Filed 07/10/06 Page 2 of 2

WHEREFORE, Defendant Adrian Sanford respectfully requests that this Court enter an
Order allowing Mr. Sanford to travel by airplane from his home in Tucson, Arizona to San
Dicgo, California for the purpose of a family vacation from Monday, July 17, 2006 to Sunday,

July 23, 2006.

UL

ROBERT R. COOPER

Counsel for Defendant

1011 Lomas Blvd. NW
Albuquerquc, New Mexico 87102
(505) 842-8494

Certificate of Service

I hereby certify that a true and correct copy of the foregoing Motion to Authorize Travel -
Out of State was mailed to Assistant United States Attorney James Braun, P.O. Box 607,
Albuquerque, New Mexico, 87103 on this (day of July, 2006.

ROBERT R. COOPER

